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SEALED

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on May 7, 2019

UNITED STATES OF AMERICA : CRIMINAL NO.
v.
: VIOLATIONS:
LOKESH NAIK, : 18 U.S.C. § 2241 (a)
: (Aggravated Sexual Abuse)
Defendant. : 18 U.S.C. § 2244(a)

(Abusive Sexual Contact)

 

INDICTMENT

The Grand Jury charges that:

| Introduction

Atall times relevant to this Indictment:

I. On or about August 7. 2019, Defendant LOKESH NAIK was employed by the
Armed Forces outside the United States, as defined in Title 18, United States Code, Section
3267(1), that is, he was an employee of a contractor working for the Department of Defense in the
Islamic Republic of Afghanistan, was present or residing in Afghanistan, and was not a national
of’or ordinarily resident in Afghanistan.

2, The conduct engaged in by LOKESH NAIK on that date, as described in this
Indictment, constitutes an offense that is punishable by imprisonment for more than one year if
engaged in within the special maritime and territorial jurisdiction of the United States.

3. The conduct alleged in this Indictment occurred on United States Army Operating

’ Base Fenty, Afghanistan.
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4, The conduct alleged in this Indictment occurred outside the jurisdiction of any
particular State or District and within the venue of the United States District Court for the District
of Columbia, in that the defendant LOKESH NAIK has no last known residence in any District.
as provided by Title 18, United States Code, Section 3238.

COUNT ONE

5. Paragraphs | through 4 are re-alleged here.

6. On or about August 7, 2019, LOKESH NAIK did knowingly engage in a sexual act
as defined in Title 18, United States Code, Section 2246(2), that is, contact between LOKESH
NAIK’s penis and S.C.’s vulva, by using force against S.C.

(Aggravated Sexual Abuse, in violation of Title 18 United States Code Section 2241(a))

COUNT TWO

7. Paragraphs 1 through 4 are re-alleged here.

8. On or about August 7, 2019, LOKESH NAIK did knowingly engage in a sexual act
as defined in Title 18. United Statcs Code. Section 2246(2). that is, contact between LOKESH
NAIK’s mouth and S.C.’s vulva, by using force against S.C.

(Aggravated Sexual Abuse, in violation of Title 18 United States Code Section 2241(a))
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COUNT THREE

9. Paragraphs | through 4 are re-alleged here.

10. On or about August 7, 2019, LOKESH NAIK did knowingly cause sexual contact
as defined in Title 18, United States Code. Section 2246(3), that is, the intentional touching of
LOKESH NAIK’s penis on S.C.'s hand, by using force against S.C., with an intent to abuse,
humiliate, harass, degrade, and arouse, and gratify his sexual desire.

(Abusive Sexual Contact, in violation of Title 18 United States Code Section 2244(a)(1))

A TRUE BILL

Q. Kb FOREPERSON
of the Unit (ee

md for the District of Cotumbia
